        Case 0:21-cr-60259-WPD Document 3 Entered on FLSD Docket 09/10/2021 Page 1 of 1
                                            COURT M INUTES/ORDER
                          United States M agistrate Judge A licia 0 .V alle
                                    Courtroom 310                                    Date:9/10/2021 Time:11:00a.m.
Defendant:        John W ilison Ross(S) J#:                        Case#; 21-Cr-60259-W PD
AUSA :Jo    g.qaft                                         Attorney:        Jlow. %y
                                                                                   .yysyxjjpn            o
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Violation: TheftofGovernm entFunds
Proceeding:InitialAppearance-lnform ation                            CJA Appt:
Bond/PTD Held: es C No                       Recommended Bond: PSB
Bond Setat:Yqp k P+   -                                               Co-signedby:$3
 C Surrenderand/ordo notobtain passports/traveldocs                          Language: English
 f- Reportto PTS as directed/or
                            -   -     x'saweek/monthby                       Disposition:
    phone:        x'saweek/monthinperson                                                                                  .
 C     Random urine testing by PretrialServices
       Treatm entasdeem ed necessary                                                            .       .
                                                                                                        N&
        Refrain from excessive use ofalcohol
 f'
  - Participate in m entalhealth assessm ent & treatm ent                        .


 C Mai
   m
     ntainorseekfull-timeemployment/education
       .,
     '''
 1/ Nocontactwithvictims/witnesses/ûo- S.s                                                  .       %W               1*-waive:
 f-- ofirearms                                                                         NQtGuilN pleaentefed
        Notto encumberproperty                                                              .       .                irderre uested
 f'
  - M aynotvisittransportation establishments                                y                                             N
                                                                                                                           '
 C HomeConfinement/ElectronicMonitoringand/or                                 uj .                           .
        Curfew             pm to               am,paidby                                                             6
 C Allowances:M edicalneeds,courtappearances,attorney visits,
   religious, em ploym ent                                                              q
 r Travelextended to:                -L .
 C Other:
NEXT COURT APPEARANCE      Date:                 Time:             Judge:                               Place:
ReportRE Counsel:
PTD/BOndHearing'.
Prelim/ArraignorRemoval:
status conference RE:
D.
 A.R.ï2'
       . '
         .WU                                                                TimeinCourt:.à >:u                   .                    .
  CHECK IFAPPLICABLE:           Forthereasonsstated bycounselfortheDefendantandfindingthattheendsofjustiteserved by
  grantingthe oretenusmotionforcontlnuance to hire counseloutweighthebestinterestsofthe public& the Defendantln a
  SpeedyTrial,the Courtfindsthatthe period oftim e from today,through and including         ,shallbe deem ed
  excludableinaccordaneewith the provisionsoftheSpeedyTrialAct,18 USE 3161etseq..
